       Case
        Case3:15-mc-80213-SK
            4:15-mc-80213-HSG Document19
                              Document 20 Filed09/10/15
                                           Filed 09/10/15 Page1
                                                           Page of
                                                                1 of
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 7   Council

 8
                               UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10
                                   SAN FRANCISCO DIVISION
11
     IN RE: APPLICATION OF MEDICAL               Case No. 3:15-mc-80213-SK
12   RESEARCH COUNCIL FOR AN ORDER               DISCOVERY MATTER
     PERMITTING ISSUANCE OF SUBPOENAS
13   TO TAKE DISCOVERY FOR USE IN                AMENDED [PROPOSED] ORDER
     FOREIGN PROCEEDING                          GRANTING APPLICATION FOR AN EX
14                                               PARTE ORDER PURSUANT TO 28 U.S.C.
                                                 § 1782 TO TAKE DISCOVERY FROM
15                                               GENENTECH FOR USE IN A FOREIGN
                                                 PROCEEDING
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     AMENDED [PROPOSED] ORDER GRANTING APPLICATION FOR EX PARTE ORDER
     CASE NO. 3:15-MC-80213-SK
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         Case3:15-mc-80213-SK
             4:15-mc-80213-HSG Document19
                               Document 20 Filed09/10/15
                                            Filed 09/10/15 Page2
                                                            Page of
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 1           Having considered Medical Research Council’s (“MRC”) Application for an Ex Parte

 2   Order Pursuant to 28 U.S.C. § 1782 to Take Discovery from Genentech, Inc. (“Genentech”) for

 3   Use in a Foreign Proceeding, the application is hereby GRANTED.

 4           MRC is hereby authorized to issue immediately to the Custodian of Records at Genentech

 5   a subpoena directing Genentech to produce documents identified in Schedule A hereto within

 6   fourteen (14) days following service of the subpoena. The documents shall be accompanied by a

 7  signed certification verifying the authenticity of the documents.
          The Court HEREBY VACATES the hearing set for September 16, 2015. The Clerk shall
 8
   close this action.
 9          IT IS SO ORDERED.

10   Entered: September
              _______________
                        10, 2015
11
                                                     By:
12                                                         Hon. Sallie Kim
                                                           United States Magistrate Judge
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     AMENDED [PROPOSED] ORDER GRANTING APPLICATION FOR EX PARTE ORDER
     CASE NO. 3:15-MC-80213-SK
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         Case3:15-mc-80213-SK
             4:15-mc-80213-HSG Document19
                               Document 20 Filed09/10/15
                                            Filed 09/10/15 Page3
                                                            Page of
                                                                 3 of
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 1                                            SCHEDULE A
 2                                  Document Requests to Genentech

 3           1. The March 1991 Agreement between Genentech, Inc. (“Genentech”) and Celltech
 4   Limited (“Celltech”).
 5           2. An unredacted version of the March 2, 2001 Amended and Restated License Agreement
 6   between Genentech and Celltech.
 7           3. The October 25, 1995 Agreement between Genentech and Hoffman-La Roche.
 8           4. The 1999 Amended and Restated Agreement between Genentech and Hoffman-La
 9   Roche (“Roche”).
10           5. All documents relating to the marketing and licensing agreement(s) of Lucentis between
11   Genentech and Novartis Pharmaceuticals.
12           6. All documents relating to the marketing and licensing agreement(s) of Avastin between
13   Genentech and Roche.
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     AMENDED [PROPOSED] ORDER GRANTING APPLICATION FOR EX PARTE ORDER
     CASE NO. 3:15-MC-80213-SK
